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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,               )
                                           )            Case No. CR03-0211-JCC
09               Plaintiff,                )
                                           )
10         v.                              )            SUMMARY REPORT OF U.S.
                                           )            MAGISTRATE JUDGE AS TO
11   MELISSA BELINDA MARTIN,               )            ALLEGED VIOLATION
                                           )            OF SUPERVISED RELEASE
12               Defendant.                )
     _____________________________________ )
13

14          An initial hearing on a petition for violation of supervised release was held before the

15 undersigned Magistrate Judge on March 2, 2007. The United States was represented by

16 Assistant United States Attorney Katheryn Frierson, and the defendant by Mr. Terrence

17 Kellogg. The proceedings were recorded on cassette tape.

18          The defendant had been charged and convicted of Conspiracy to Possess Stolen Mail

19 and the Use of an Unauthorized Access Device. On or about January 16, 2004, defendant

20 was sentenced by the Honorable John C. Coughenour to a term of twenty-four (24) months in

21 custody, to be followed by three (3) years of supervised release.

22          The conditions of supervised release included the requirements that the defendant

23 comply with all local, state, and federal laws, and with the standard conditions. Special

24 conditions imposed included, but were not limited to, participation in a substance-abuse

25 program, consent to search and seizure, no new credit to be obtained, no possession of an ID

26 in a name other than defendant’s true name, financial disclosure, and restitution.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
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01          In a Petition for Warrant or Summons dated December 11, 2006, and a Violation

02 Report and Warrant Request dated December 12, 2006, U.S. Probation Officer Michael S.

03 Larsen asserted the following violations by defendant of the conditions of her supervised

04 release:

05          No. 1: Committing the crime of disorderly conduct, on or about November 23, 2006,

06 in violation of the standard condition that she not violate any federal, state, or local laws.

07          No. 2: Committing the crime of driving with a suspended/revoked license, on or

08 about November 23, 2006, in violation of the standard condition that she not violate any

09 federal, state, or local laws.

10          No. 3: Committing the crime of no valid operator’s license, on or about November

11 23, 2006, in violation of the standard condition that she not violate any federal, state, or local

12 laws.

13          No. 4: Failing to notify the probation officer within 72 hours of her arrest by Neah

14 Bay/Makah Tribal Police in case Number 06-213, on or about November 23, 2006, in

15 violation of standard condition number 11.

16          No. 5: Associating with known felon Michael Kelly, without permission of the

17 probation officer, in violation of standard condition number 9.

18          No. 6: Using alcohol, on or about November 23, 2006, in violation of the special

19 condition that she abstain from alcohol use.

20          No. 7: Failing to notify the probation officer of being terminated from her

21 employment, in violation of standard condition number 6.

22          No. 8: Failing to notify the probation officer of a change in residence, in violation of

23 standard condition number 6.

24          The defendant was advised of the allegations, and advised of her rights. Defendant

25 admitted to the violations, and waived any rights to an evidentiary hearing as to whether they

26 occurred.

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
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01          I therefore recommend that the Court find the defendant to have violated the terms

02 and conditions of her supervised release as to Violations 1 through 8, and that the Court

03 conduct a hearing limited to disposition. A disposition hearing has been set before the

04 Honorable John C. Coughenour on April 3, 2007, at 8:30 a.m.

05          Pending a final determination by the Court, the defendant has been released, subject

06 to supervision.



                                                        A
07          DATED this 5th day of March, 2007.

08
                                                        JAMES P. DONOHUE
09                                                      United States Magistrate Judge
10
     cc:    District Judge:              Honorable John C. Coughenour
11          AUSA:                        Ms. Katheryn Frierson
            Defendant’s attorney:        Mr. Terrence Kellogg
12          Probation officer:           Mr. Michael S. Larsen
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     REPORT AND RECOMMENDATION OF
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